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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                  PADUCAH DIVISION
                           CIVIL ACTION NO. 5:18‐CV‐173‐TBR

CONNIE BUSHNELL                                                                     PLAINTIFF

V.                           AMENDED SCHEDULING ORDER

MAXFUEL XPRESS                                                                    DEFENDANT

       A telephonic conference was held on May 10, 2019.

       APPEARING BY PHONE:
       For the Plaintiff:           Matthew P. Schultz
       For the Defendant:           Harlan E. Judd, III


       IT IS ORDERED:

       (1) Docket #12 is granted. Matthew P. Schultz is now counsel of record for the plaintiff.

       (2) Previously entered deadlines are vacated. The telephonic conference set on August
1, 2019, the final pretrial conference set on February 21, 2020, and the jury trial set on March
9, 2020 are vacated/cancelled.

       (3) Disclosures pursuant to Fed.R.Civ.P. 26 (a)(1) shall be completed by May 20, 2019.

       (4) No later than October 15, 2019 the parties shall file all motions to amend
pleadings.

       (5) Identify experts in compliance with Fed.R.Civ.P.26(a)(2):
              By plaintiff(s):     November 1, 2019
              By defendant(s):     December 1, 2019

       (6) No later than October 1, 2019 the parties shall complete fact discovery. No later
than January 15, 2020 the parties shall complete all discovery. Pursuant to 28 U.S.C. §
636(b)(l)(A) this matter is referred to Magistrate Judge Lanny King for ruling on all
discovery motions. No discovery motion may be filed without having a joint telephonic
conference with the Judge arranged through his office (270‐415‐6470).

      (7) A telephonic status conference is set on October 1, 2019 at 9:30 a.m. Central.
The Court shall place the call to counsel.

       (8) No later than February 15, 2020 counsel for the parties shall file all dispositive
motions and any motions objecting to the admissibility of expert witness testimony under
Fed.R.Evid. 702 and Daubert v. Merrell Dow Pharmaceutical, Inc., 509 U.S. 579(1993), Kumho
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Tire Co. v. Carmichael, 526 U.S. 137 (1999). The party filing the last pleading in response to
such motions shall notify the Court by email to his case manager
Kelly_P_Harris@kywd.uscourts.gov, with copies to opposing counsel, that the motions are ripe
for decision.

       (9) The action is scheduled for a telephonic final pretrial conference on June 26,
2020 at 9:00 a.m. Central Time. The conference will be held telephonically, with the Court
placing the call to counsel. Attorneys who will be trying the case shall be available with full
settlement authority.

        (10) At least 28 days before the pretrial conference counsel shall:
               a)     Fully comply with Fed.R.Civ. Proc. 26(a)(3)(A) as it applies to witnesses
and exhibit list production.
               b)     Produce to opposing counsel, all exhibits and charts, marked for
identification, which will be used at trial.
               c)    Any objection to witnesses or exhibits must be filed within 7 days.
               d)     File all motions in limine. Any response to a motion in limine must be
filed within 7 days.
               e)     File a pretrial brief containing a succinct statement of the facts of the case,
the questions of facts and questions of law with citations.
               f)     Submit agreed proposed jury instructions. If the parties cannot agree,
counsel shall submit proposed instructions with supporting authority.
               g)     Submit proposed jury voir dire questions. The Court shall conduct voir
dire.
               h)     Designate portions of depositions to be used at trial. Opposing counsel
shall have 7 days thereafter to make additional designations.
        In the absence of good cause shown, no witness shall be permitted to testify and no
exhibit or testimony shall be admitted into evidence, except upon compliance with the
conditions of this order.
        Any exhibit or chart so submitted and marked for filing at trial shall be admitted into
evidence if otherwise probative, unless written objections are filed, as set forth in this order.

      (11) The action is assigned for trial by jury on the 7th day of July, 2020 at 9:00 a.m.
Counsel shall appear in chambers at 8:30 a.m.

         (12) At the commencement of trial, counsel shall furnish to the official court reporter
a list of pre‐marked exhibits intended for use at the trial.




cc:     Counsel
        Magistrate Judge Lanny King
        Case Manager
                                                                May 15, 2019
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